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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION

TIMOTHY KING, MARIAN ELLEN
SHERIDAN, JOHN EARL HAGGARD,
CHARLES JAMES RITCHARD, JAMES
DAVID HOOPER, and DARREN WADE                No. 2-20-cv-13134
RUBINGH,
                                             HON. LINDA V. PARKER
      Plaintiffs,
v                                            MAG. R. STEVEN WHALEN

GRETCHEN WHITMER, in her official             DEFENDANTS WHITMER
capacity as Governor of the State of              AND BENSON’S
Michigan, JOCELYN BENSON, in her             CONCURRENCE IN CITY OF
official capacity as Michigan Secretary of    DETROIT’S MOTION FOR
State and the Michigan BOARD OF STATE              SANCTIONS
CANVASSERS,

      Defendants,

CITY OF DETROIT,

      Intervening Defendant,

ROBERT DAVIS,

      Intervening Defendant,

DEMOCRATIC NATIONAL
COMMITTEE and MICHIGAN
DEMOCRATIC PARTY,

     Intervening Defendant.
___________________________________
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  DEFENDANTS WHITMER AND BENSON’S CONCURRENCE IN THE
        CITY OF DETROIT’S MOTION FOR SANCTIONS

      For the reasons stated in the City of Detroit’s January 5, 2021 motion for

sanctions (ECF No. 78, PageID.3616-3836), Defendants Governor Gretchen

Whitmer and Secretary of State Jocelyn Benson concur in the motion and the relief

sought by the City of Detroit, while reserving their option to file their own motion

subsequent to the Court’s determination of the pending motions to dismiss the

complaint.

                                              Respectfully submitted,

                                              s/Heather S. Meingast
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Dated: January 14, 2021
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                        CERTIFICATE OF SERVICE

I hereby certify that on January 14, 2021, I electronically filed the above
document(s) with the Clerk of the Court using the ECF System, which will provide
electronic copies to counsel of record.

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